                        UNITED STATES DISTRICT COURT
                         DISTRICT OF MASSACHUSETTS
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                               )
UNITED STATES OF AMERICA )
                               )
      v.                       )               1:19-cr-10438-GAO
                               )
DECLAN HARRINGTON              )
_______________________________)

                         STATUS REPORT AND JOINT MOTION
                         TO CONTINUE STATUS CONFERENCE

       Counsel for the United States and defendant Declan Harrington jointly submit the

following status report and a joint motion to continue the hearing scheduled for January 6, 2021.

       1.      On August 12, 2021, the Court accepted the defendant’s guilty plea to the charges

in the Indictment.

       2.      At the parties request, the Court did not set a sentencing date so that defendant

Harrington could be sentenced at or about the same time as his co-defendant, Eric Meiggs, who

is a participant in the Court’s RISE program. Defendant Meiggs is expected to graduate from the

RISE program in or about May or June 2022.

       3.      For the same reasons, the parties request that the Court continue the status

conference scheduled for January 6, 2022 for approximately 90 days. At that time, the parties

can report on defendant Meiggs’ completion of the RISE program and request a sentencing date.




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       4.      In addition, defendant Harrington’s counsel is travelling overseas on January 5,

2022 and would be unable to appear for the currently scheduled status conference.

       The parties’ accordingly jointly request that the Court continue the scheduled status

conference to a date convenient to the Court in early April 2022.

                                                             Respectfully Submitted,

/s/Derege B. Demissie                                        /s/Seth B. Kosto
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January 4, 2022


                                CERTIFICATE OF SERVICE

I hereby certify that this document filed through the ECF system will be sent electronically to the
registered participants as identified on the Notice of Electronic Filing (NEF) on January 4, 2022.

                                                             /s/ Seth B. Kosto
                                                             SETH B. KOSTO
                                                             Assistant United States Attorney

January 4, 2022




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